Case MDL No. 2741 Document 2437-1 Filed 08/19/21 Page 1 of 40




                                 EXHIBIT A
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 2 Page
                                                             of 40 2PageID
                                                                     of 40 #: 3445

                                        Amended Settlement Agreement in Gilmore v. Monsanto


               AMENDED CLASS ACTION SETTLEMENT AGREEMENT

        This Settlement Agreement and Release (the “Agreement” or “Settlement”), effective upon
the date of the signatories below, is made by and between Monsanto Company and Scott Gilmore,
James Weeks, Paul Taylor, Sherry Hanna, Amanda Boyette, Julio Ezcurra, Anthony Jewell, and
Kristy Williams, on behalf of themselves and the Settlement Class (defined below) (collectively,
the “Parties”), in the matter Gilmore et al. v. Monsanto Company, Case No. 1:20-cv-01085-MN
(D. Del.) (“the Action”).

        WHEREAS, Class Counsel commenced numerous Related Actions against Monsanto and
certain retailers regarding alleged false advertising and consumer fraud in connection with
Monsanto’s Roundup® Products beginning in July 2019;

       WHEREAS, Class Representative Scott Gilmore commenced the Action for violation of
Delaware Consumer Fraud Act against Monsanto in the United States District Court for the District
of Delaware on August 19, 2020;

         WHEREAS, the Parties disagree on the merits and viability of the Claims set forth in the
Action’s complaint, Monsanto denies any and all liability or wrongdoing, and Plaintiffs believe
that all Claims are viable;

        WHEREAS, the Parties have engaged in both informal and formal discovery in various
actions but have not yet briefed class certification;

        WHEREAS, the Parties engaged in a mediation session before retired United States
Magistrate Judge Diane Welsh to determine whether a settlement of the Action could be reached
and, at the end of the more than 14-hour mediation session, the Parties reached an agreement in
principle;

       WHEREAS, Plaintiffs have concluded that it is in the best interest of the Class to settle
the Action on the terms set forth in this Agreement in order to avoid further expense,
inconvenience, and delay, and on the basis of other factors bearing on the merits of settlement;

        WHEREAS, Monsanto enters into this Agreement in order to avoid further expense,
inconvenience, delay, and interference with business operations, and to dispose of the Action and
to put to rest all controversy concerning the Claims that have been or could have been asserted;

         WHEREAS, the Parties understand, acknowledge, and agree that the execution of this
Agreement constitutes the settlement and compromise of disputed Claims. This Agreement, and
all related documents, shall not be construed as any admission or concession by Monsanto or by
any Party of any fault, liability, wrongdoing, or damage whatsoever. Preliminary certification of
the Settlement Class shall not be deemed a concession that certification of a litigation class is
appropriate, nor would Monsanto be precluded from challenging class certification in further
proceedings in the Action or in any other action if the Settlement Agreement is not finalized or
finally approved. This Agreement is inadmissible as evidence against any Party except to enforce
the terms of the Agreement and is not an admission of wrongdoing or liability on the part of any


                                          Page 1 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 3 Page
                                                             of 40 3PageID
                                                                     of 40 #: 3446

                                          Amended Settlement Agreement in Gilmore v. Monsanto


Party to this Agreement. It is the Parties’ desire and intention to effect a full, complete, and final
settlement and resolution of all existing disputes and Claims as set forth in the Action.

        WHEREAS, the Settlement Class (as defined below) and Monsanto wish to resolve, on a
nationwide basis, any and all past, present, and future Claims the Settlement Class has or may have
against the Released Persons of any nature whatsoever, as they relate to the allegations in the
Action, and to that end, the Settlement Class and Monsanto intend that the United States District
Court for the District of Delaware conditionally certify the Settlement Class for settlement, and
that this Agreement will encompass and end all related pending, threatened, or possible litigation
and/or Claims by any Party against the Released Persons;

   NOW, THEREFORE, the Parties, for good and valuable consideration, the sufficiency of
which is hereby acknowledged, understand and agree to the following terms and conditions:

   A. Definitions

      As used in this Agreement, the following terms enclosed within quotation marks have the
meanings specified below:

       1.     “Action” means the matter Gilmore et al. v. Monsanto Company, Case
No. 1:20-cv-01085-MN (D. Del.).

        2.      “Affiliate” means, with respect to any Person, any other Person that, directly or
indirectly, through one or more intermediaries, controls, or is controlled by, or is under common
control with, such Person, where “control” means the possession, directly or indirectly, of the
power to direct or cause the direction of the management and policies, whether through the
ownership of voting shares, by contract, or otherwise.

          3.   “Agreement” means this Settlement Agreement and Release.

          4.   “Second Amended Complaint” means the Second Amended Complaint in the
Action.

         5.     “Approved Claim” means a claim approved by the Claims Administrator, according
to the terms of this Agreement.

       6.     “Authorized Claimant” means any Claimant who has timely and completely
submitted a Claim Form that has been reviewed and validated by the Claims Administrator.

        7.     “Boyette” means the plaintiff in the Related Action Boyette v. Lowe’s Companies,
Inc. and one of the named plaintiffs in the Second Amended Complaint, Amanda Boyette.

         8.      “Claims” means past, present, and future claims, counterclaims, actions, rights,
remedies, causes of action, liabilities, suits, demands, damages, losses, payments, judgments,
verdicts, debts, dues, sums of money, liens, costs and expenses (including, without limitation,
attorneys’ fees and costs), accounts, reckonings, bills, covenants, contracts, controversies,
agreements, obligations, or promises, including any of the foregoing for equitable or injunctive
relief, direct damages, indirect damages, consequential damages, incidental damages, punitive or

                                            Page 2 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 4 Page
                                                             of 40 4PageID
                                                                     of 40 #: 3447

                                          Amended Settlement Agreement in Gilmore v. Monsanto


exemplary damages, statutory and other multiple damages or penalties of any kind, or any other
form of damages or relief whatsoever, and whether based upon breach of contract, warranty or
covenant, tort, negligence, strict liability, gross negligence, recklessness, willful or wanton
conduct, malice, oppression, conscious disregard, joint and several liability, guarantee,
contribution, reimbursement, subrogation, indemnity, defect, failure to warn, fault,
misrepresentation, common-law fraud, statutory consumer fraud, quantum meruit, breach of
fiduciary duty, violation of statutes or administrative regulations, and/or any other legal (including
common-law), foreign, statutory, equitable, or other theory or right of action, whether in law or in
equity, fixed, contingent or noncontingent, known or unknown, discovered or undiscovered,
suspected or unsuspected, foreseen or unforeseen, matured or unmatured, accrued or unaccrued,
ripened or unripened, perfected or unperfected, choate or inchoate, developed or undeveloped,
liquidated or unliquidated, now recognized by law or that may be created or recognized in the
future by statute, regulation, or judicial decision or in any other manner, and whether direct,
representative, derivative, class, or individual in nature, in any forum that any Person had, has, or
may have in the future.

      9.     “Claim for Relief” means a request for relief submitted by or on behalf of a Class
Member on a Claim Form filed with the Claims Administrator in accordance with the terms of this
Agreement.

       10.     “Claimant” means any Class Member who submits a Claim for benefits as
described in Section I of this Agreement.

       11.      “Claim Form” means the document to be submitted by Claimants seeking benefits
pursuant to this Agreement.

       12.     “Claims Administrator” means the company approved by the Court to provide the
Class Notice and to administer the claims process. The parties anticipate that Postlethwaite &
Netterville, APAC will be the Claims Administrator.

        13.     “Claims Administration Expenses” means the fees charged and expenses incurred
by the Claims Administrator in completing the Class Notice and claims administration process set
forth in this Agreement.

        14.    Claims Deadline” means the date by which all Claim Forms must be postmarked
or received by the Claims Administrator to be considered timely. The Claims Deadline shall end
one hundred twenty (120) days after the Preliminary Approval Date.

       15.     “Class Member(s)” means all Persons that are members of the Settlement Class.

       16.      “Class Counsel” means the following attorneys of record in the Action: Gillian L.
Wade, Sara D. Avila, and Marc A. Castaneda of Milstein, Jackson, Fairchild & Wade, LLP, and
Joel Oster of Oster Law Firm and of Counsel to the Law Offices of Howard Rubinstein, and any
additional attorneys at those firms assisting in the representation of the Class in this Action.

       17.     “Class Counsel’s Expenses” means the amount awarded by the Court for any costs
or expenses, other than the Class Counsel’s Fees, incurred by Class Counsel, Plaintiffs’ Counsel,
or Class Representatives for prosecution of the Action and Related Actions.

                                            Page 3 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 5 Page
                                                             of 40 5PageID
                                                                     of 40 #: 3448

                                            Amended Settlement Agreement in Gilmore v. Monsanto


       18.    “Class Counsel’s Fees” means the amount awarded as attorneys’ fees to Class
Counsel by the Court for Class Counsel’s and Plaintiffs’ Counsel’s prosecution of the Action and
Related Actions.

       19.     “Class Notice” means, collectively, the “Notice of Class Action Settlement” and the
“Publication Notice,” substantially in the forms to be agreed upon by the Parties and that will be
submitted to the Court in connection with the Motion for Preliminary Approval of Settlement.

       20.     “Class Period” shall mean and refer to a time period based upon the state or territory
where each Class Member made his or her purchases of the Products. A list of the applicable
periods for each state, district, or territory included in this Agreement is appended hereto as Exhibit
B.

      21.       “Class Released Claims” means the Claims released by the Class Members via this
Agreement.

      22.     “Class Representatives” means the named plaintiffs in the Action—Gilmore,
Weeks, Taylor, Hanna, Boyette, Ezcurra, Jewell, and Williams—and any other individuals who
may be added as plaintiffs to any amended pleading.

        23.     “Court” means the United States District Court for the District of Delaware.

        24.     “Default Payment Amounts” has the meaning set forth in Paragraph F.1.

        25.      “Effective Date” means the date on which the judgment approving this Agreement
becomes final. For purposes of this definition, the Final Settlement Approval Order and Judgment
shall become final at the latest date of the following dates: (i) if no appeal from the Final Settlement
Approval Order and Judgment is filed, the date of expiration of the time for filing or noticing any
appeal from the Final Settlement Approval Order and Judgment; or (ii) if an appeal from the Final
Settlement Approval Order and Judgment is filed, and the Final Settlement Approval Order and
Judgment is affirmed or the appeal dismissed (including, if necessary, after the resolution of any
petition for rehearing or rehearing en banc and, if applicable, the conclusion of any rehearing
proceedings), the date that the deadline to file a petition for certiorari has passed; or (iii) if a petition
for certiorari seeking review of the appellate judgment is filed and denied, the date the petition is
denied; or (iv) if a petition for writ of certiorari is filed and granted, the date of final affirmance or
final dismissal of the review proceeding initiated by the petition for a writ of certiorari.

        26.   “Ezcurra” means the plaintiff in the Related Action, Ezcurra v. Monsanto Co. and
one of the named plaintiffs in the Second Amended Complaint, Julio Ezcurra.

      27.     “Final Settlement Hearing” or “Final Approval Hearing” means the hearing to be
conducted by the Court to determine whether to enter the Final Settlement Approval Order and
Judgment.

        28.    “Final Settlement Approval Order and Judgment” or “Judgment” means the Court’s
final order approving the Agreement; entering judgment; dismissing the Action with prejudice;
discharging the Released Parties of and from all further liability for the Released Claims; and
permanently barring and enjoining the Releasing Persons from instituting, filing, commencing,

                                               Page 4 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 6 Page
                                                             of 40 6PageID
                                                                     of 40 #: 3449

                                           Amended Settlement Agreement in Gilmore v. Monsanto


prosecuting, maintaining, continuing to prosecute, directly or indirectly, as an individual or
collectively, representatively, derivatively, or on behalf of them, or in any other capacity of any
kind whatsoever, any action in any state court, any federal court, before any regulatory body or
authority, or in any other tribunal, forum, or proceeding of any kind, against the Released Persons
that asserts any Released Claims.

        29.     “Gilmore” means the plaintiff in the Action, Scott Gilmore.

      30.      “Hanna” means the plaintiff in the Related Action Hanna v. Walmart and one of the
named plaintiffs in the Second Amended Complaint, Sherry Hanna.

        31.   “Jewell” means the plaintiff in the Related Action Jewell v. Walmart, Inc. and one
of the named plaintiffs in the Second Amended Complaint, Anthony Jewell.

        32.      “Medical Monitoring Claims” shall mean Claims that seek to require, or recover
damages amounting to the costs of, medical monitoring or screening for potential physical injury
or illness of a natural person. It is expressly contemplated that a cause of action could include both
Claims that are Medical Monitoring Claims and Claims that are not Medical Monitoring Claims.

        33.     “Monsanto” means Monsanto Company and Bayer AG and each and all of their
respective past, present, or future, direct or indirect, predecessors, successors, parents, subsidiaries,
Affiliates, and divisions; and any past, present, or future officer, director, shareholder, owner,
employee, partner, trustee, representative, agent, servant, insurer, attorney, predecessor, successor,
or assignee of any of the above.

        34.     “Notice Period” means the notice period to potential Class Members. Class Notice
shall run for a period of one hundred (100) days and shall commence within fourteen (14) days
after the Preliminary Approval Date.

        35.   “Notice Plan” means the plan for dissemination of the Class Notice to be designed
by the Claims Administrator and agreed upon by the Parties and that will be submitted to the Court
in connection with the Motion for Preliminary Approval of Settlement.

        36.     “Objection Deadline” means the first business day on or after seven (7) calendar
days from the filing of the Motion for Final Approval of the Settlement and Application for Fees,
or such other date as the Court may order in its Preliminary Approval Order. It is the date by which
the Class Members must file with the Court and serve on all Parties (i) a written statement objecting
to any terms of the Settlement or to Class Counsel’s Fees and (ii) a written notice of intention to
appear if they expect to present in person at the Final Approval Hearing objections to any terms of
the Settlement or to Class Counsel’s Fees.

        37.     “Opt-Out Deadline” means one hundred twenty (120) days after the Preliminary
Approval Date (to be concurrent with the Claims Deadline), or such other date as the Court may
order in its Preliminary Approval Order.

     38.    “Other Counsel” means any other attorney or attorneys, representing any Class
Member, who are not Class Counsel or Plaintiffs’ Counsel.


                                             Page 5 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 7 Page
                                                             of 40 7PageID
                                                                     of 40 #: 3450

                                         Amended Settlement Agreement in Gilmore v. Monsanto


       39.     “Party” or “Parties” means Plaintiffs, to include the Class Members, and Monsanto.

        40.     “Person” means any individual, corporation, partnership, association, or any other
type of legal entity.

        41.     “Personal Injury Claims” shall mean Claims that assert a right to recover damages
for the actual physical injury or illness of a natural person or that seek to recover compensatory,
punitive, or exemplary damages, or attorney’s fees, allegedly resulting or arising from the actual
physical injury or illness of a natural person, including, for example, claims for mental or physical
pain or suffering; emotional or mental harm; loss of enjoyment of life; loss of wages, income,
earnings, or earning capacity; medical expenses; doctor, hospital, nursing, or drug bills; loss of
support, services, consortium, companionship, society, or affection; damage to familial relations;
and wrongful death and survival actions. It is expressly contemplated that a cause of action could
include both Claims that are Personal Injury Claims and Claims that are not Personal Injury
Claims.

       42.     “Plaintiffs” means Gilmore, Weeks, Taylor, Hanna, Boyette, Ezcurra, Jewell,
Williams, and the other Class Members.

       43.     “Plaintiffs’ Counsel” means the following additional counsel for Plaintiffs:
(1) Rhodunda Williams & Kondraschow, LLC; (2) The Law Offices of Howard Rubinstein;
(3) Southern Atlantic Law Group, PLLC; (4) The Casey Law Firm, LLC; (5) Sheehan &
Associates, P.C.; and (6) Harrelson Law Firm, P.A.

        44.     “Preliminary Approval Date” means the date of entry of the Court’s order granting
preliminary approval of the Agreement substantially in the form of the Preliminary Approval Order
that will be submitted in connection with the Motion for Preliminary Approval of Settlement.

       45.     “Products” means and includes the list of Products appended hereto as Exhibit A.

       46.     “Related Actions” include the following actions:

             a. Gilmore v. Monsanto Co. et al., No. 3:19-cv-1123 (D. Or.)

             b. Waters v. Home Depot U.S.A., Inc., No. 50-2019-CC-009140 (Cnty. Ct. 15th Cir.
                in and for Palm Beach Cnty., Fla.)

             c. Lamerson v. Walmart Stores, Inc., No. 50-2019-CC-009139 (Cnty. Ct. 15th Cir.
                in and for Palm Beach Cnty., Fla.)

             d. Weeks v. Home Depot U.S.A., Inc., No. 2:19-cv-6780 (C.D. Cal.)

             e. Weeks v. Lowe’s Home Centers, LLC, No. 2:19-cv-6828 (C.D. Cal.)

             f. Jewell v. Walmart Inc., No. 4:19-cv-4088 (W.D. Ark.)

             g. Shelly v. Target Corp., No. 50-2019-CC-010718 (Cnty. Ct. 15th Cir. in and for
                Palm Beach Cnty., Fla.)


                                           Page 6 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 8 Page
                                                             of 40 8PageID
                                                                     of 40 #: 3451

                                           Amended Settlement Agreement in Gilmore v. Monsanto


              h. Biddle v. Lowe’s Home Centers, LLC, No. 50-2019-CC-011405 (Cnty. Ct. 15th
                 Cir. in and for Palm Beach Cnty., Fla.)

              i. Morley v. Ace Hardware Corp., No. CONO-19-01064 (Cnty. Ct. 2d Cir. in and
                 for Broward Cnty., Fla.)

              j. Boyette v. Lowe’s Companies, Inc., No. 4:19-cv-04119 (W.D. Ark.)

              k. Thomas v. Costco Wholesale Corp., No. 1:19-cv-05278 (E.D.N.Y.)

              l. Ezcurra v. Monsanto Co., No. 9:20-cv-80524 (S.D. Fla.)

              m. Fagundes v. The Home Depot, No. 0:20-cv-61035 (S.D. Fla.)

              n. Taylor v. Costco Wholesale Corp., No. 20-cv-00655 (E.D. Cal.)

              o. Hanna v. Walmart Inc., No. 5:20-cv-01075 (C.D. Cal.)

              p. Williams v. Lowe’s Home Centers, LLC, No. 5:20-cv-01356 (C.D. Cal.)

              q. Hanna v. Walmart Inc., No. CIV SB 2100789 (Cal. Sup. Ct.)

              r. Gregorio v. Home Depot U.S.A., Inc., No CACE-21-002428 (2d Cir. in and for
                 Broward Cnty., Fla.)

The term “Related Actions” is meant only as a shorthand to refer to these cases in the course of
this Agreement and is not intended, and shall not be construed, to limit in any way the scope of the
releases provided by the Agreement or the effect of this Agreement in actions other than the Related
Actions. It is expressly contemplated that certain actions not included within the definition of
Related Actions contain Claims that shall be released by virtue of this Agreement.

        47.     “Related Parties” means the past, present, and future manufacturers, formulators,
distributors, marketing agents, commissionaires, resellers, Retailers, clinical researchers, agents,
licensees, contractors, joint ventures, joint venturers, and consultants of or with respect to the
Products, and any and all past, present, or future suppliers of materials, components, and services
used in the development, registration, formulation, manufacture, distribution, handling, sale, or
marketing of the Products, including the labeling and packaging thereof, and each and all of their
respective past, present, or future, direct or indirect, predecessors, successors, parents, subsidiaries,
Affiliates, divisions, joint ventures, and joint venturers; and any past, present, or future officer,
director, shareholder, owner, employee, partner, trustee, representative, agent, servant, insurer,
attorney, predecessor, successor, or assignee of any of the above.

        48.     “Released Persons” means, respectively, Monsanto; Scotts; any distributors and/or
Retailers of the Products; Related Parties; any Persons that are currently, may in the future be, or
have in the past been, marketing, advertising, distributing, selling, or reselling the Products and
any past, current, or future parent companies (including intermediate parents and ultimate parents)
and subsidiaries, Affiliates, predecessors, successors, and assigns, and each of their respective past,
present, or future officers, directors, employees, agents, members, franchisees, franchisors,

                                             Page 7 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 9 Page
                                                             of 40 9PageID
                                                                     of 40 #: 3452

                                           Amended Settlement Agreement in Gilmore v. Monsanto


attorneys, insurers, stockholders, representatives, heirs, administrators, executors, successors, and
assigns; and any other Person acting on behalf of Monsanto, Scotts, or any other Released Person.

        49.    “Releasing Persons” means Gilmore, Weeks, Taylor, Hanna, Boyette, Ezcurra,
Jewell, Williams, and each Class Member and any Person claiming by or through each Class
Member, or on their behalf, including, but not limited to, spouses, children, wards, heirs, devisees,
legatees, invitees, employees, associates, co-owners, attorneys, agents, administrators,
predecessors, successors, assignees, representatives of any kind, shareholders, partners, directors,
or Affiliates.

        50.     “Retailers” means any person or entity that has offered, is presently offering, or
may in the future offer the Products for sale or resale (including, without limitation, wholesale
distributors, private-label distributors, and all retailers and retail distributors), and each and all of
their respective past, present, or future, direct or indirect, predecessors, successors, parents,
subsidiaries, Affiliates, and divisions; and any past, present, or future officer, director, shareholder,
owner, employee, partner, trustee, representative, agent, servant, insurer, attorney, predecessor,
successor, or assignee of any of the above. “Retailers” shall include, but is in no way limited by,
Ace Hardware Corporation; Costco Wholesale Corporation; Home Depot U.S.A., Inc.; The Home
Depot, Inc.; Lowe’s Companies, Inc.; Lowe’s Home Centers, LLC; Target Corporation; Walmart
Inc.; and Wal-Mart Stores, Inc., and each and all of their respective past, present, or future, direct
or indirect, predecessors, successors, parents, subsidiaries, Affiliates, and divisions; and any past,
present, or future officer, director, shareholder, owner, employee, partner, trustee, representative,
agent, servant, insurer, attorney, predecessor, successor, or assignee of any of the above.

        51.     “Scotts” means The Scotts Company LLC, Monsanto’s exclusive marketing and
distribution agent for Roundup® consumer products, and each and all of its respective past,
present, or future, direct or indirect, predecessors, successors, parents, subsidiaries, Affiliates, and
divisions; and any past, present, or future officer, director, shareholder, owner, employee, partner,
trustee, representative, agent, servant, insurer, attorney, predecessor, successor, or assignee of any
of the above.

        52.     “Settlement Class” means all Persons in the United States who, during the Class
Period, purchased Products (as defined above) in the United States other than for resale or
distribution. Excluded from the Settlement Class are (i) judicial officers and associated court staff
assigned to this case, and their immediate family members; (ii) past and present (as of the Effective
Date) officers, directors, and employees of Monsanto; (iii) all those otherwise in the Settlement
Class who timely and properly exclude themselves from the Settlement Class pursuant to this
Agreement and in the manner approved by the Court and set forth in the Class Notice.

       53.     “Settlement Website” means a website maintained by the Claims Administrator to
provide the Settlement Class with information relating to the Settlement.

      54.    “Taylor” means the named plaintiff in the Related Action Taylor v. Costco
Wholesale Corp. and one of the named Plaintiffs in the Second Amended Complaint, Paul Taylor.

      55.  “United States” means the fifty states of the United States, the District of Columbia,
the Commonwealth of Puerto Rico, Guam, American Samoa, the Virgin Islands of the United


                                             Page 8 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 10Page
                                                              of 4010PageID
                                                                      of 40 #: 3453

                                           Amended Settlement Agreement in Gilmore v. Monsanto


 States, the Commonwealth of the Northern Mariana Islands, any other territory or possession of
 the United States, and any United States military or diplomatic establishment wherever located.

         56.    “Weeks” means the named plaintiff in the Related Action Weeks v. Home Depot
 U.S.A., Inc. and one of the named Plaintiffs in the Second Amended Complaint, James Weeks.

        57.   “Williams” means the named plaintiff in the Related Action Williams v. Lowe’s
 Home Centers, LLC and one of the named Plaintiffs in the Second Amended Complaint, Kristy
 Williams.

    B. Conditional Class Certification for Settlement Purposes Only

        1.     For settlement purposes only, Plaintiffs agree to ask the Court to certify the
 Settlement Class under Rule 23(b)(3) of the Federal Rules of Civil Procedure.

         2.       This Agreement is for settlement purposes only, and neither the fact of, nor any
 provision contained in, this Agreement, nor any action taken hereunder, shall constitute, be
 construed as, or be admissible in evidence as an admission of (1) the validity of any Claim or
 allegation by Plaintiffs, or of any defense asserted by Monsanto, in this Action or any other actions
 or proceedings; (2) any wrongdoing, fault, violation of law, or liability of any kind on the part of
 any Party, Released Party, Class Member, or their respective counsel; or (3) the propriety of class
 certification in the Action, Related Actions, or any other action or proceeding.

         3.      For the sole and limited purpose of settlement only, the Parties stipulate to and
 request that the Court conditionally certify the Settlement Class under Rule 23(b)(3), which
 stipulation is contingent upon the occurrence of the Effective Date. Should the Effective Date not
 occur, this Agreement shall be void and will not constitute, be construed as, or be admissible in
 evidence as an admission of any kind or be used for any purpose in the Action or Related Actions
 or in any other pending or future action. In the event that the Agreement is terminated pursuant to
 its terms or the Final Settlement Hearing does not occur for any reason, the certification of the
 Settlement Class shall be vacated, and the Action shall proceed as it existed prior to execution of
 this Agreement.

          4.     The Court’s certification of the Settlement Class shall not be deemed an
 adjudication of any fact or issue for any purpose other than the accomplishment of the provisions
 of this Agreement and shall not be considered the law of the case, res judicata, or collateral estoppel
 in the Action, Related Actions, or any other proceeding unless and until the Court enters a
 Judgment. Regardless of whether the Effective Date occurs, the Parties’ agreement to class
 certification for settlement purposes only (and any statements or submissions made by the Parties
 in connection with seeking the Court’s approval of this Agreement) shall not be deemed to be a
 stipulation as to the propriety of class certification, or any admission of fact or law regarding any
 request for class certification, in any other action or proceeding, whether or not involving the same
 or similar Claims.

        5.     In the event that the Court does not enter a Judgment, or the Effective Date does
 not occur, or the Agreement is otherwise terminated or rendered null and void, the Parties’
 agreement to certification of the Settlement Class for settlement purposes shall be null and void


                                             Page 9 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 11Page
                                                              of 4011PageID
                                                                      of 40 #: 3454

                                           Amended Settlement Agreement in Gilmore v. Monsanto


 and the Court’s certification order (if any is ordered) shall be vacated, and thereafter no new class
 or classes will remain certified.

          6.      Nothing in this Agreement shall be argued as support for, or admissible in, an effort
 to certify any new class in this Court or any other court if the Court does not enter a Judgment, or
 the Effective Date does not occur, nor shall anything herein be admissible in any proceeding to
 certify this or any other classes in any other court under any circumstances.

        7.       Subject to the Court’s approval, and for settlement purposes only, Monsanto
 consents to the appointment of Gilmore, Weeks, Taylor, Hanna, Boyette, Ezcurra, Jewell, and
 Williams as Class Representatives of the Settlement Class, and the appointment of Class Counsel
 as counsel for the Settlement Class.

       8.      The Preliminary Approval Order shall contain a provision enjoining Class Members
 who have not opted out of the Agreement from proceeding with any Released Claims.

         9.      Promptly following the filing of a motion for preliminary approval of this
 Agreement, Class Counsel shall make all reasonable and lawful efforts to ensure that plaintiffs in
 any pending Related Action or any other pending case with allegations and Claims similar to those
 in the Action consent to this Agreement and agree to stay or dismiss any such actions pending final
 approval of this Agreement. If for any reason, after Class Counsel’s reasonable efforts, such other
 plaintiffs will not consent to this Agreement and agree to stay or dismiss any such actions, or in
 the event that the court before which any such action is pending will not agree to a stipulated stay
 or dismissal, then Class Counsel shall reasonably cooperate with Monsanto in any effort to seek a
 stay of such actions so that notice, administration, and approval of this Agreement may proceed in
 an organized and efficient manner.

        10.    Upon final approval of the Agreement by the Court, a Judgment substantially in the
 form agreed by the Parties, and conforming with the definition of Final Settlement Approval Order
 and Judgment above, will be entered by the Court.

    C. Benefits of the Agreement

         Class Counsel and the Class Representatives believe the Agreement confers substantial
 benefits upon the Settlement Class, particularly as weighed against the risk associated with the
 inherently uncertain nature of a litigated outcome; the complex nature of the Action; and the
 expense of continued proceedings through the completion of fact and expert discovery, class
 certification briefing, summary-judgment briefing, trial, and appeals. On the basis of their
 evaluation of such factors, Class Counsel and Class Representatives have determined that
 settlement, based on the terms in this Agreement, is in the best interests of the Settlement Class.

    D. Settlement Consideration

         1.     The total cash consideration to be paid by Monsanto pursuant to this Agreement
 shall be an amount not less than $23 million (the “Floor Amount”) and not greater than $45 million
 (the “Ceiling Amount”), which shall include all amounts that Monsanto has paid or is to pay under
 or in connection with this Agreement, including, but not limited to, all costs of Class Notice,


                                            Page 10 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 12Page
                                                              of 4012PageID
                                                                      of 40 #: 3455

                                          Amended Settlement Agreement in Gilmore v. Monsanto


 Claims Administration Expenses, Class Member Claims, Class Representative service awards,
 Class Counsel’s Expenses, and Class Counsel’s Fees.

        2.     Prior to the Effective Date, Monsanto’s only monetary obligation shall be to pay
 those amounts necessary to cover the costs of Class Notice and Claims Administration Expenses.
 Monsanto shall pay such amounts promptly and as necessary to cover such costs.

        3.      In no event shall Monsanto be required to contribute or pay an amount greater than
 the Ceiling Amount, when taking into account all amounts that Monsanto has paid or is to pay
 under or in connection with this Agreement, including, but not limited to, payments of or for Class
 Notice, Claims Administration Expenses, Class Member Claims, Class Representative service
 awards, Class Counsel’s Expenses, and Class Counsel’s Fees.

         4.      The payment obligations set forth in this Agreement will not be subject to any
 interest obligation or inflation adjustment.

    E. Class Member Claims

         1.       If the Ceiling Amount is sufficient to allow such payments (and subject to the
 further limitations and requirements set forth below) after payment of all other amounts Monsanto
 has paid or is to pay under or in connection with this Agreement, then for each unit of the Products
 purchased by an Authorized Claimant during the Class Period, that Authorized Claimant shall
 receive a standardized payment of the below amounts (the “Default Payment Amounts”) for each
 Product purchased:

               Product                             Default Payment Amounts Per Unit


  16 oz. Roundup® Weed and Grass                                   $1.00
        Killer Sure Shot Foam



  22 oz. Roundup® Weed and Grass                                   $1.00
        Killer Sure Shot Foam



   24 oz. Roundup® Ready-to-Use                                    $1.00
       Weed and Grass Killer

   30 oz. Roundup® Ready-to-Use                                    $1.00
       Weed and Grass Killer




                                           Page 11 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 13Page
                                                              of 4013PageID
                                                                      of 40 #: 3456

                                     Amended Settlement Agreement in Gilmore v. Monsanto


   24 oz. Roundup® Ready-to-Use                            $1.50
    Poison Ivy Plus Tough Brush
    Killer or Wild Blackberry Plus
         Vine & Brush Killer

  24 oz. Roundup® Ready-to-Use                             $2.00
  Extended Control Weed & Grass
    Killer Plus Weed Preventer


   1 gal. Roundup® Ready-to-Use                            $2.00
      Weed and Grass Killer (all
           applicator types)


    0.5 gal. (64 oz.) Roundup®                             $2.50
   Ready-to-Use Weed and Grass
                Killer


     0.5 gal. (64 oz.) Roundup®                            $2.50
   Ready-to-Use Extended Control
   Weed & Grass Killer Plus Weed
               Preventer

  1.25 gal. Roundup® Ready-to-Use                          $2.50
      Weed and Grass Killer (all
            applicator types)


   5 oz. Roundup® Precision Gel                            $3.00
       Weed and Grass Killer



  1 gal. Roundup® Ready-to-Use                             $3.00
  Extended Control Weed & Grass
    Killer Plus Weed Preventer




                                      Page 12 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 14Page
                                                              of 4014PageID
                                                                      of 40 #: 3457

                                      Amended Settlement Agreement in Gilmore v. Monsanto


   1 gal. Roundup® Ready-to-Use                             $3.00
    Poison Ivy Plus Tough Brush
   Killer or Wild Blackberry Plus
         Vine & Brush Killer

  16 oz. Roundup® Weed & Grass                              $3.50
      Killer Concentrate Plus



  1.33 gal. Roundup® Ready-to-Use                           $3.50
     Poison Ivy Plus Tough Brush
    Killer or Wild Blackberry Plus
         Vine & Brush Killer

  1.1 gal. Roundup® Ready-to-Use                            $4.00
      Weed & Grass Killer (all
           applicator types)


  32 oz. Roundup® Weed and Grass                            $4.00
       Killer Concentrate Plus



    35.2 oz. Roundup® Weed and                              $4.00
    Grass Killer Concentrate Plus



  1.33 gal. Roundup® Ready-to-Use                           $4.00
       Weed & Grass Killer (all
            applicator types)


  1.33 gal. Roundup® Ready-to-Use                           $5.00
   Extended Control Weed & Grass
    Killer Plus Weed Preventer (all
            applicator types)




                                       Page 13 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 15Page
                                                              of 4015PageID
                                                                      of 40 #: 3458

                                      Amended Settlement Agreement in Gilmore v. Monsanto


  1.25 gal. Roundup® Ready-to-Use                           $5.00
   Extended Control Weed & Grass
    Killer Plus Weed Preventer (all
            applicator types)

   16 oz. Roundup® Concentrate                              $5.50
  Extended Control Weed & Grass
    Killer Plus Weed Preventer


  3-pack – 6 oz. Roundup® Weed &                            $5.50
    Grass Killer Concentrate Plus



   32 oz. Roundup® Concentrate                              $5.50
    Poison Ivy Plus Tough Brush
   Killer or Wild Blackberry Plus
        Vine & Brush Killer

  1.25 gal. Roundup® Ready-to-Use                           $6.00
   Max Control 365 (all applicator
                types)


  36.8 oz. Roundup® Weed & Grass                            $6.00
        Killer Concentrate Plus



  40 oz. Roundup® Weed & Grass                              $6.00
      Killer Concentrate Plus



  1.1 gal. Roundup® Ready-to-Use                            $6.00
  Extended Control Weed & Grass
   Killer Plus Weed Preventer (all
           applicator types)




                                       Page 14 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 16Page
                                                              of 4016PageID
                                                                      of 40 #: 3459

                                     Amended Settlement Agreement in Gilmore v. Monsanto


  1.33 gal. Roundup® Ready-to-Use                          $7.00
   Max Control 365 (all applicator
                types)


    Combination Pack – 1.33 gal.                           $7.50
  Roundup® Ready-to-Use Weed &
      Grass Killer and 2 × 7 oz.
   Roundup® Weed & Grass Killer
          Concentrate Plus
     0.5 gal. (64 oz.) Roundup®                            $7.50
   Concentrate Plus Weed & Grass
                 Killer


   32 oz. Roundup® Concentrate                             $8.00
  Extended Control Weed & Grass
    Killer Plus Weed Preventer


   32 oz. Roundup® Concentrate                             $8.50
          Max Control 365



   Combination pack – 1.33 gal.                            $9.00
   Roundup® Ready-to-Use Max
  Control 365 and 8 oz. Roundup®
   Concentrate Max Control 365.

  80 oz. Roundup® Weed & Grass                             $9.50
      Killer Concentrate Plus



   Combination Pack – 1.33 gal.                            $9.50
  Roundup® Ready-to-Use Weed &
  Grass Killer and 8 oz. Roundup®
    Weed & Grass Killer Super
            Concentrate




                                      Page 15 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 17Page
                                                              of 4017PageID
                                                                      of 40 #: 3460

                                     Amended Settlement Agreement in Gilmore v. Monsanto


    Combination pack – 1.33 gal.                          $10.50
    Roundup® Extended Control
   Weed & Grass Killer Plus Weed
   Preventer and 16 oz. Roundup®
    Concentrate Extended Control
   Weed & Grass Killer Plus Weed
               Preventer
  35.2 oz. Roundup® Weed & Grass                          $11.50
       Killer Super Concentrate



  2-pack – 80 oz. Roundup® Weed                           $12.50
  & Grass Killer Concentrate Plus



    0.42 gal. Roundup® Weed &                             $14.00
   Grass Killer Super Concentrate



  0.5 gal. (64 oz.) Roundup® Weed                         $15.00
  & Grass Killer Super Concentrate



   1 gal. Roundup® Weed & Grass                           $21.50
       Killer Super Concentrate



       2.5 gal. Roundup® Pro                              $33.00
             Concentrate



  24 oz. Ace® Ready-to-Use Weed                            $0.50
           & Grass Killer




                                      Page 16 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 18Page
                                                              of 4018PageID
                                                                      of 40 #: 3461

                                         Amended Settlement Agreement in Gilmore v. Monsanto


  1 gal. Ace® Ready-to-Use Weed &                                 $1.50
             Grass Killer



  1 gal. Ace® Ready-to-Use Weed &                                 $3.00
  Grass Killer with battery-operated
               sprayer


  32 oz. Ace® Concentrate Weed &                                  $3.00
            Grass Killer



   1 gal. Ace® Concentrate Weed &                                 $5.50
             Grass Killer



   32 oz. HDX® Concentrate Weed                                   $1.50
           & Grass Killer



  0.5 gal. HDX® Concentrate Weed                                  $3.00
            & Grass Killer



  2.5 gal. HDX® Concentrate Weed                                 $12.50
            & Grass Killer




         2.    If, after accounting for payment of all other amounts Monsanto has paid or is to pay
 under or in connection with this Agreement, the Ceiling Amount is insufficient to allow the
 payments to Authorized Claimants of the Default Payment Amounts, then the payments to
 Authorized Claimants shall be adjusted downward on a pro rata basis to the extent necessary to
 permit the payment of all Claims for Relief by Authorized Claimants without exceeding the Ceiling
 Amount.



                                           Page 17 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 19Page
                                                              of 4019PageID
                                                                      of 40 #: 3462

                                          Amended Settlement Agreement in Gilmore v. Monsanto


         3.     If, after accounting for payment of all other amounts Monsanto has paid or is to pay
 under or in connection with this Agreement, and considering the Default Payment Amounts that
 would otherwise be paid to Authorized Claimants, the total amount to be paid by Monsanto under
 or in connection with this Agreement would be less than the Floor Amount, then the payment to
 Authorized Claimants shall be adjusted upward on a pro rata basis to the extent necessary to
 exhaust the Floor Amount.

         4.      If, after all Approved Claims are paid, checks sent to Authorized Claimants remain
 unclaimed, uncashed, or otherwise not redeemed after one hundred eighty (180) days from the date
 of the checks, then (1) if a reversion to Monsanto of the full amount of the unclaimed, uncashed,
 or otherwise unredeemed checks would not cause the total amount paid by Monsanto under or in
 connection with this Agreement to fall below the Floor Amount, then the full amount of those
 checks shall revert to Monsanto; (2) if a reversion to Monsanto of the full amount of the unclaimed,
 uncashed, or otherwise unredeemed checks would cause the total amount paid by Monsanto under
 or in connection with this Agreement to fall below the Floor Amount, then (a) whatsoever amount
 of unclaimed, uncashed, or otherwise unredeemed checks that can revert to Monsanto without
 causing the total amount paid by Monsanto under or in connection with this Agreement to fall
 below the Floor Amount shall revert to Monsanto; (b) as to the remaining amount of unclaimed,
 uncashed, or otherwise unredeemed checks, (i) if a further pro rata payment to Authorized
 Claimants (other than those Authorized Claimants who did not cash or redeem their checks) is
 economically feasible in the judgment of the Claims Administrator, then such further payments
 shall be made; and (ii) if a further payment as described above is not economically feasible in the
 judgment of the Claims Administrator, then such amount shall be donated to the National
 Consumer Law Center.

         5.     In the event that a further pro rata distribution to Authorized Claimants (other than
 those Authorized Claimants who did not cash or redeem their checks) is made pursuant to the
 above Clause E.4(2)(b)(i), the amount of any checks from that further pro rata distribution that
 remain unclaimed, uncashed, or otherwise not redeemed after one hundred eighty (180) days from
 the date of such checks shall be donated to the National Consumer Law Center.

    F. Attorneys’ Fees, Expenses, and Costs

        1.     Class Counsel and Class Representatives shall request attorneys’ fees and costs,
 including Class Counsel’s Fees, and service awards, to be paid by Monsanto. Monsanto will not
 contest a request for Class Counsel’s Fees that do not exceed 25% of the Ceiling Amount.
 Monsanto will not oppose reasonable service awards, in an amount not to exceed $5,000 each, for
 the Class Representatives. Notwithstanding the foregoing, the amount of Class Counsel’s Fees
 and service awards to Class Representatives awarded by the Court is within the Court’s discretion,
 and the amount awarded by the Court shall have no impact on the validity of this Agreement.

         2.      The Parties recognize that Class Counsel’s Fees reflect the novel and complex
 nature of this matter, as well as the risk assumed by Class Counsel in investing years of labor and
 resources into gaining relief for the Settlement Class without guarantee of return. The Parties
 recognize also that litigation pursued in the Related Actions contributed significantly to bringing
 about the mediation in this matter and this Agreement and is appropriately considered by the Court
 in assessing the reasonableness of Class Counsel’s Fees and Expenses.

                                           Page 18 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 20Page
                                                              of 4020PageID
                                                                      of 40 #: 3463

                                        Amended Settlement Agreement in Gilmore v. Monsanto


       3.     Monsanto shall pay to Class Counsel the amount of Class Counsel’s Fees and
 Expenses awarded by the Court within twenty-one (21) calendar days after the Effective Date.

    G. Retention of Claims Administrator

         Monsanto shall retain the Claims Administrator to effect Class Notice and administration.
 The Claims Administrator shall assist with various administrative tasks, including, without
 limitation:

         1.    arranging for the dissemination of the Class Notice pursuant to the Notice Plan
               agreed to by the Parties and approved by the Court;
         2.    answering written inquiries from Class Members and/or forwarding such inquiries
               to Class Counsel;
         3.    receiving and maintaining forms of Class Members who wish to opt out of and be
               excluded from the Agreement;
         4.    establishing a Settlement Website;
         5.    establishing and staffing a toll-free informational telephone number for Class
               Members;
         6.    receiving and processing Claims for Relief and distributing payments to Authorized
               Claimants; and
         7.    otherwise assisting with administration of the Agreement.
    H. Timing

         All Claim Forms must be postmarked or received by the Claims Administrator by the
 Claims Deadline to be considered timely. The Claims Deadline shall be clearly set forth in the
 Preliminary Approval Order, in the Class Notice, on the Settlement Website, and on the front of
 the Claim Form.

    I. Procedure

         1.      Class Notice will be designed to meet the requirements of Rule 23(c)(2)(B) of the
 Federal Rules of Civil Procedure and due process. Class Notice shall include print and nationwide
 digital publication.

        2.    All Claims for Relief must be submitted with a Claim Form and received by the
 Claims Administrator.

         3.      The Claim Form will be available on the Settlement Website. The Claim Form will
 be available to fill out and submit online, for download, or will be mailed to Class Members upon
 request by calling or writing to the Claims Administrator. Class Members may submit their
 completed and signed Claim Forms to the Claims Administrator by mail or online, postmarked or
 submitted online, and on or before the Claims Deadline.




                                          Page 19 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 21Page
                                                              of 4021PageID
                                                                      of 40 #: 3464

                                           Amended Settlement Agreement in Gilmore v. Monsanto


         4.      The Claim Form must include either valid proof of purchase or, subject to the
 limitations set forth below, an affirmation of the identity and quantity of the Products purchased.
 All Claim Forms must include:

            a. Class Member name, address, email address, and telephone number;
            b. identification of the quantity and type of Product(s) the Class Member purchased;
            c. the Retailer and location (city and state) where the Products were purchased; and
            d. the approximate date(s) or date ranges on or during which the Product or Products
               were purchased.
        5.    The Claims Administrator shall retain sole discretion in accepting or rejecting
 Claim Forms.

         6.      Claims for Relief that are based only on an affirmation (i.e., that do not include
 valid proof of purchase) shall be limited to a maximum allowance (the “Maximum Allowance”)
 of one (1) Product for each year or partial year (e.g., if the Class Period is five (5) years and three
 (3) months, this shall be treated as six (6) years for purposes of calculating the Maximum
 Allowance) of the Class Period (the number of years for each Class Member being determined by
 the state of that Class Member’s purchases as set forth in the definition of Class Period above)
 with the exception of Claims for Relief for 1 gal. Roundup® Weed and Grass Killer Super
 Concentrate, 2.5 gal. Roundup® Pro Concentrate, and/or 2.5 gal. HDX® Weed & Grass Killer
 Concentrate. Claims for Relief for 1 gal. Roundup® Weed and Grass Killer Super Concentrate,
 2.5 gal. Roundup® Pro Concentrate, and/or 2.5 gal. HDX® Weed & Grass Killer Concentrate will
 require valid proof of purchase.

         7.     Claims for Relief based on a valid proof of purchase are not subject to the
 Maximum Allowance, but for such Claims for Relief, it shall be in the Claims Administrator’s
 discretion to determine whether the proof of purchase provided is genuine and sufficient. The
 Claims Administrator may, at its discretion, require a declaration signed under penalty of perjury
 that provides additional information to confirm that the proof of purchase is genuine and sufficient.
 If the Claims Administrator is not satisfied with the proof of purchase provided, it may, in its
 discretion, deny or reduce the Claim for Relief.

         8.      Monsanto shall fund, and the Claims Administrator shall pay out, approved Claims
 for Relief in accordance with the terms of this Agreement commencing sixty (60) calendar days
 after the Effective Date or as otherwise ordered by the Court.

         9.     Class Members who do not submit a Claim for Relief or opt out (i.e., do nothing)
 will be subject to this Agreement and all of its terms, including, but not limited to, the releases,
 and will receive no payment.

    J. Opt-Out Procedure

        1.      Class Members who wish to opt out of and be excluded from the Agreement must
 download from the Settlement Website, or request from the Claims Administrator, an Opt-Out
 Form, which form shall be created by the Claims Administrator, and Class Members must complete
 and mail the form to the Claims Administrator, at the mailing address stated on the Opt-Out Form,

                                             Page 20 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 22Page
                                                              of 4022PageID
                                                                      of 40 #: 3465

                                          Amended Settlement Agreement in Gilmore v. Monsanto


 postmarked no later than one hundred twenty (120) days after the Preliminary Approval Date (to
 be concurrent with the Claims Deadline), or such other date as the Court may order in its
 Preliminary Approval Order (the “Opt-Out Deadline”).

      2.      The Opt-Out Form must be personally completed and submitted by the Class
 Member, and multiple-Class-Member “mass” or “class” opt-outs shall not be permitted.

        3.      The written request to opt out must contain the Class Member’s printed name,
 address, telephone number, and date of birth, and it must contain the dated personal signature of
 the Class Member seeking to exclude himself or herself from the Agreement.

         4.      The Claims Administrator shall be responsible for processing opt-outs and
 objections, if any, including promptly providing Class Counsel and counsel for Monsanto with
 copies of same.

    K. Procedures for Objecting to the Settlement

        Class Members have the right to appear and show cause why the Agreement should not be
 granted final approval, subject to each of the provisions of this paragraph:

          1.    Written Objection Required. Any objection to the Agreement must be in writing,
 filed with the Court, and with a copy served on Class Counsel and counsel for Monsanto at the
 addresses set forth in the Class Notice and in Miscellaneous Provision Paragraph R.2 below, by
 the Objection Deadline.

          2.      Form of Written Objection. Any objection regarding or related to the Agreement
 shall contain (i) a caption or title that clearly identifies the Action and that the document is an
 objection, (ii) information sufficient to identify and contact the objecting Class Member and his or
 her attorney, and (iii) a clear and concise statement of the Class Member’s objection, as well as
 any facts and law supporting the objection (the “Objection”).

          3.    Authorization of Objections Filed by Attorneys Representing Objectors. Class
 Members may object either on their own or through an attorney hired at their own expense, but a
 Class Member represented by an attorney must either sign the Objection himself or herself or
 execute a separate declaration stating that the Class Member authorizes the filing of the Objection.

           4.   Effect of Both Opt-Out and Objection. If a Class Member submits an Opt-Out
 Form, the Class Member will be deemed to have opted out of the Agreement, and thus to be
 ineligible to object. However, any objecting Class Member who has not timely submitted a
 completed Opt-Out Form for exclusion from the Agreement will be bound by the terms of the
 Agreement upon the Court’s final approval of the Agreement.

    L. Release by Class Members

        1.     Upon the Effective Date, each of the Class Members will be deemed to have, and
 by operation of the Judgment will have, fully, finally, and forever released, relinquished, and
 discharged, and covenanted not to sue, the Released Parties from any and all Claims (with the
 exception of Personal Injury Claims and Medical Monitoring Claims), whether known or

                                           Page 21 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 23Page
                                                              of 4023PageID
                                                                      of 40 #: 3466

                                         Amended Settlement Agreement in Gilmore v. Monsanto


 unknown, matured or unmatured, asserted or unasserted, latent or patent, at law or in equity,
 existing under federal or state law, regardless of legal theory or relief claimed, that any Class
 Member has or may in the future have against any Released Party arising out of or related in any
 way to:

            a. any allegedly false, misleading, incomplete, or inaccurate statement, or any alleged
               omission, regarding the alleged carcinogenicity, toxicity, genotoxicity, endocrine
               disruptive effects, or any other alleged health effects of the Products or any
               ingredient or component thereof, including, but not limited to, glyphosate (whether
               or not such statement or alleged omission regarding an ingredient or component
               thereof is made specifically with regard to the Products, with regard to the
               ingredient or component thereof separately, or with regard to other products), or
               any scientific claims or debate regarding the same;

            b. any alleged breach of contract or breach of warranty arising out of or related to the
               alleged carcinogenicity, toxicity, genotoxicity, endocrine disruptive effects, or any
               other alleged health effects of the Products or any ingredient or component thereof,
               including, but not limited to, glyphosate, or any scientific claims or debate
               regarding the same; or

            c. any other alleged economic loss or injury (other than those economic losses or
               injuries encompassed within the definitions of Personal Injury Claims or Medical
               Monitoring Claims) allegedly suffered by or inflicted on any Class Member
               because of or related to the alleged carcinogenicity, toxicity, genotoxicity,
               endocrine disruptive effects, or any other alleged health effects of the Products or
               any ingredient or component thereof, including, but not limited to, glyphosate, or
               any scientific claims or debate regarding the same.

 Collectively, the foregoing are “Released Claims.” For avoidance of doubt, this release does not
 release any Personal Injury Claims or Medical Monitoring Claims. To the extent that any action
 or proceeding includes both Personal Injury Claims or Medical Monitoring Claims and Claims
 that would otherwise be released by this Agreement, the Personal Injury Claims and/or Medical
 Monitoring Claims will not be deemed released, but the other Claims will be released. By way of
 example, if a Class Member brought an action asserting that he or she bought and used Roundup®
 products that failed to warn of an alleged risk of Non-Hodgkin Lymphoma and that this caused
 them to develop Non-Hodgkin Lymphoma, and sought to recover damages for their physical
 injury, for lost wages, and for medical bills, neither that Personal Injury Claim nor the related
 damages (including economic damages such as lost wages or medical bills) would be released by
 this Settlement. For further avoidance of doubt, this release shall apply to Claims (other than
 Personal Injury Claims and Medical Monitoring Claims) arising from, resulting from, or in any
 way relating to or in connection with a Class Member’s purchase or use of the Products in the past,
 present, or future.

         2.     Upon the Effective Date, each of the Class Members shall be deemed to
 acknowledge and agree that the releases set forth in this Agreement are irrevocable and
 unconditional, inure to the benefit of Monsanto and all other Released Persons (which are intended
 third-party beneficiaries), and are intended to be construed as broadly as reasonably possible so

                                           Page 22 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
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                                      Filed 08/19/21
                                             Filed 08/19/21
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                                                              of 4024PageID
                                                                      of 40 #: 3467

                                           Amended Settlement Agreement in Gilmore v. Monsanto


 that the Released Persons shall never be called upon to pay any further sums or expenses or be
 liable, directly or indirectly, to any person seeking contribution and/or indemnity from the
 Released Persons, or any of them, by reason of any legal actions brought against them pertaining
 in any way to, or arising from, or connected with the Released Claims.

         3.      If any part or provision of the releases included in this Agreement is adjudicated to
 be invalid, illegal, or unenforceable in any jurisdiction, the relevant part or provision shall be
 deemed modified to the extent necessary to make it enforceable in such jurisdiction and, if it cannot
 be so modified, the releases shall be deemed amended to delete herefrom the invalid or
 unenforceable part or provision, and the releases shall be in full force and effect as so modified.
 Any such modification or amendment shall apply only to the operation of that part or provision in
 the particular jurisdiction in which such adjudication was made and shall not affect such part or
 provision in any other jurisdiction. To the fullest extent permitted by applicable law, the Class
 Members hereby specifically and expressly waive any provision of law that renders any part or
 provision of the releases herein invalid, illegal, or unenforceable in any respect.

    M. Release of Plaintiffs

         Upon the Effective Date, Monsanto will be deemed to have, and by operation of the
 Judgment will have, fully, finally, and forever released, relinquished, and discharged Plaintiffs, the
 Class, and Class Counsel from any and all Claims, demands, rights, suits, liabilities, and causes of
 action of every nature and description whatsoever, whether known or unknown, matured or
 unmatured, at law or in equity, existing under federal or state law, that Monsanto has or may have
 against any of them arising out of or related in any way to the transactions, occurrences, events,
 behaviors, conduct, practices, and policies alleged in the Action and, in connection with the filing
 and conduct of the Action, that have been brought, could have been brought, or are currently
 pending in any forum in the United States.

    N. Section 1542 Waiver

       ALL PARTIES ACKNOWLEDGE SECTION 1542 OF THE CALIFORNIA CIVIL
 CODE. THE CLASS MEMBERS EXPRESSLY WAIVE AND RELINQUISH ANY RIGHTS OR
 BENEFITS AVAILABLE TO THEM UNDER THIS STATUTE. CALIFORNIA CIVIL CODE
 SECTION 1542 PROVIDES: “A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
 WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
 FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR
 HER MUST HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
 DEBTOR.” NOTWITHSTANDING CALIFORNIA CIVIL CODE SECTION 1542 OR ANY
 OTHER FEDERAL OR STATE STATUTE OR RULE OF LAW OF SIMILAR EFFECT, THIS
 AGREEMENT SHALL BE GIVEN FULL FORCE AND EFFECT ACCORDING TO EACH
 AND ALL OF ITS EXPRESSED TERMS AND PROVISIONS, INCLUDING THOSE
 RELATED TO ANY UNKNOWN OR UNSUSPECTED CLAIMS, LIABILITIES, DEMANDS,
 OR CAUSES OF ACTION THAT ARE BASED ON, ARISE FROM, OR ARE IN ANY WAY
 CONNECTED WITH THE ACTION (excluding Personal Injury Claims and Medical Monitoring
 Claims).




                                            Page 23 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
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                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 25Page
                                                              of 4025PageID
                                                                      of 40 #: 3468

                                           Amended Settlement Agreement in Gilmore v. Monsanto


    O. Class Action Fairness Act

         1.      The Class Action Fairness Act of 2005 (“CAFA”) requires Monsanto to inform
 certain federal and state officials about this Agreement. See 28 U.S.C. § 1715.

         2.      Under the provisions of CAFA, the Claims Administrator, on behalf of Monsanto,
 will serve notice upon the appropriate officials within ten (10) calendar days after the Parties file
 the proposed Agreement with the Court. See 28 U.S.C. § 1715(b).

          3.  The Parties agree that either the Claims Administrator or Monsanto is permitted to
 provide CAFA notice as required by law and that any such notice shall be done to effectuate the
 Agreement and shall not be considered a breach of this Agreement or any other agreement of the
 Parties.

         4.      If any of the notified federal or state officials takes any action adversely affecting
 the validity or enforceability of the Agreement or seeks to impose additional terms or liability on
 Monsanto for the matters resolved by the Class Released Claims, Monsanto may, at its option,
 suspend the implementation of the Agreement pending the outcome of the action initiated by the
 notified federal or state official or, provided that the Court has not yet entered the Final Settlement
 Approval Order and Judgment, may elect to void the Agreement by written notice to Class
 Counsel.

    P. Court Approval

         1.       Promptly after executing this Agreement, the Parties will submit to the Court the
 Agreement, together with its exhibits, and will request that the Court grant preliminary approval
 of the proposed Agreement, issue a Preliminary Approval Order, and schedule a Final Approval
 Hearing to determine whether the Agreement should be granted final approval, whether an
 application for attorneys’ fees and costs should be granted, and whether an application for service
 awards should be granted. As part of the preliminary-approval motion, the Parties will request that
 the Court certify the Settlement Class provisionally for settlement purposes and formally to appoint
 Class Counsel. The Parties intend and acknowledge that any such certification and appointment
 would be for purposes of the Agreement only, and not effective in continuing litigation between
 the Parties, if any.

        2.     A Final Settlement Hearing to determine final approval of the Agreement shall be
 scheduled as soon as practicable, subject to the calendar of the Court, but no sooner than one
 hundred fifty (150) days after the Preliminary Approval Date. Upon final approval of the
 Agreement by the Court at or after the Final Settlement Hearing, the Parties shall seek and obtain
 from the Court the Final Settlement Approval Order and Judgment.

         3.      Objecting Class Members may appear at the Final Approval Hearing and be heard,
 subject to the provisions of paragraph K above. The Parties shall have the right, but not the
 obligation, either jointly or individually, to respond to any objection.

         4.      If this Agreement is not given final approval by the Court, the Parties will seek in
 good faith to revise the Agreement as needed to obtain Court approval. Failing this, the Parties
 will be restored to their respective places in the litigation. In such event, the terms and provisions

                                             Page 24 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
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                                      Filed 08/19/21
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                                                      Page 26Page
                                                              of 4026PageID
                                                                      of 40 #: 3469

                                           Amended Settlement Agreement in Gilmore v. Monsanto


 of this Agreement will have no further force and effect with respect to the Parties and will not be
 used in this or in any other proceeding for any purposes, and any judgment or order entered by the
 Court in accordance with the terms of this Agreement will be treated as vacated.

    Q. No Public Statements and Media or Public Inquiry Plan

          1.     Other than as expressly permitted below, the Parties will refrain (directly, or through
 counsel or third parties) from making any public statements regarding the fact of or the terms of
 this settlement, absent written agreement signed by both Parties.

         2.     In responding to any inquiries from the public media concerning the Action and/or
 the Agreement, the Plaintiff and Class Counsel will limit their comments to the effect that “the
 matter has been settled to the satisfaction of all Parties subject to Court approval” unless a prior
 written agreement has been signed by both Parties. Nothing in this paragraph shall limit Class
 Counsel’s ability to communicate privately with a Class Member concerning this Action or the
 Agreement.

        3.     Monsanto or the Claims Administrator may make such public disclosures about the
 Action and Agreement as any applicable laws require.

         4.     Monsanto shall be permitted to respond to questions from media outlets to provide
 truthful information regarding the scope of this Agreement and the distinction between this
 Agreement and other class action settlements entered into by Monsanto.

        5.      Prior to filing the motion for preliminary approval, the Parties shall agree on the
 language of a press release regarding this Agreement.

    R. Miscellaneous Provision

         1.      Entire Agreement. This Agreement shall constitute the entire Agreement among the
 Parties with regard to the subject matter of this Agreement and shall supersede any previous
 agreements, representations, communications, and understandings among the Parties with respect
 to the subject matter of this Agreement. The Parties acknowledge, stipulate, and agree that no
 covenant, obligation, condition, representation, warranty, inducement, negotiation, or undertaking
 concerning any part or all of the subject matter of the Agreement has been made or relied upon
 except as expressly set forth herein. This Agreement supersedes any prior agreement between the
 Parties, including the Term Sheet executed by the Parties.

         2.     Notices Under This Agreement. All notices or mailings required by this Agreement
 to be provided to or approved by Class Counsel and Monsanto, or otherwise made pursuant to this
 Agreement, shall be provided as follows:

  Class Counsel                                       Monsanto

  Gillian L. Wade                                     John J. Rosenthal
  Milstein, Jackson, Fairchild & Wade, LLP            Winston & Strawn LLP
  10990 Wilshire Boulevard, 8th Floor                 1901 L St. NW
  Los Angeles, CA 90024                               Washington, DC 20036

                                             Page 25 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
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                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 27Page
                                                              of 4027PageID
                                                                      of 40 #: 3470

                                          Amended Settlement Agreement in Gilmore v. Monsanto


  Telephone: (310) 396-9600                          Telephone: (202) 282-5785
  gwade@mjfwlaw.com                                  jrosenthal@winston.com


        4.      Good Faith. The Parties acknowledge that each intends to implement the
 Agreement. The Parties have at all times acted in good faith and shall continue to, in good faith,
 cooperate and assist with and undertake all reasonable actions and steps in order to accomplish all
 required events on the schedule set by the Court, and shall use reasonable efforts to implement all
 terms and conditions of this Agreement.

         5.      Binding on Successors. This Agreement shall be binding upon and inure to the
 benefit of the heirs, successors, assigns, executors, and legal representatives of the Parties to the
 Agreement and the Released Parties.

         6.      Arm’s-Length Negotiations. The Agreement compromises Claims that are
 contested, and the Parties agree that the consideration provided to the Settlement Class and other
 terms of the Agreement were negotiated in good faith and at arm’s length by the Parties, and reflect
 an Agreement that was reached voluntarily, after consultation with competent legal counsel, and
 guided in part by the Parties’ earlier private mediation session with Judge Diane Welsh, an
 experienced mediator. The determination of the terms of, and the drafting of, this Agreement, has
 been by mutual agreement after negotiation, with consideration by and participation of all Parties
 hereto and their counsel. Accordingly, the rule of construction that any ambiguities are to be
 construed against the drafter shall have no application. All Parties agree that this Agreement was
 drafted by Class Counsel and Monsanto’s counsel at arm’s length, and that no parol or other
 evidence may be offered to explain, construe, contradict, or clarify its terms, the intent of the
 Parties or their attorneys, or the circumstances under which the Agreement was negotiated, made,
 or executed.

         7.    Waiver. The waiver by one Party of any provision or breach of this Agreement shall
 not be deemed a waiver of any other provision or breach of this Agreement.

          8. Modification in Writing Only. This Agreement and any and all parts of it may be
 amended, modified, changed, or waived only by an express instrument in writing signed by the
 Parties.

         9.      Headings. The descriptive headings of any paragraph or sections of this Agreement
 are inserted for convenience of reference only and do not constitute a part of this Agreement.

        10.     Governing Law. This Agreement shall be interpreted, construed, and enforced
 according to the laws of the State of Delaware, without regard to conflicts of law.

         11.     Continuing Jurisdiction. After entry of the Judgment, the Court shall have
 continuing jurisdiction over the Action solely for purposes of (i) enforcing this Agreement,
 (ii) addressing settlement-administration matters, and (iii) addressing such post-Judgment matters
 as may be appropriate under court rules or applicable law, including under the All Writs Act.




                                            Page 26 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
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                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 28Page
                                                              of 4028PageID
                                                                      of 40 #: 3471

                                         Amended Settlement Agreement in Gilmore v. Monsanto


         12.    Agreement Constitutes a Complete Defense. To the extent permitted by law, this
 Agreement may be pleaded as a full and complete defense to, and may be used as the basis for an
 injunction against, any action, suit, or other proceeding that may be instituted, prosecuted, or
 attempted in breach of or contrary to this Agreement.

         12.    Execution. This Agreement may be executed in one or more counterparts. All
 executed counterparts and each of them will be deemed to be one and the same instrument.
 Photocopies and electronic copies (e.g., PDF copies) shall be given the same force and effect as
 original signed documents.


 IN WITNESS WHEREOF, each of the undersigned, being duly authorized, have caused this
 Agreement to be executed on the dates shown below and agree that it shall take effect on that date
 upon which it has been executed by all the undersigned.



        _____________________________ Date: August 19
                                                   __, 2021
        SCOTT GILMORE


        _____________________________ Date: August __, 2021
        SHERRY HANNA


        _____________________________ Date: August __, 2021
        PAUL TAYLOR


        _____________________________ Date: August __, 2021
        JAMES WEEKS


        _____________________________ Date: August __, 2021
        KRISTY WILLIAMS


        _____________________________ Date: August __, 2021
        AMANDA BOYETTE


        _____________________________ Date: August __, 2021
        JULIO EZCURRA


        _____________________________ Date: August __, 2021
        ANTHONY JEWELL

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            12.    Agreement Constitutes a Complete Defense. To the extent permitted by law, this
    A reement ma be pleaded as a full and complete defense to, and may be used as the basis for an
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    injunction against, any action, suit, or other proceeding that may b;;; instituted, prosecuted, or
    attempted in breach of or contrary to this Agreement.

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              ___________ Date: August_, 2021
           SCOTT GILMORE


           ____________ Date: August_, 2021
           SHERRY HANNA


            Qr
           PAUL TAYLOR
                       =
              ,,,d --:::::--�ate: August li, 2021



           ---,-,:--,-------,-,c-=c-------- Date: August_, 2021
           JAMES WEEKS


           ____________ Date: August_, 2021
           KRISTY WILLIAMS


           ----------�- Date: August_, 2021
           AMANDA BOYETTE


           ____________ Date: August_, 2021
           JULIO EZCURRA


           -----�------Date: August_, 2021
           ANTHONY JEWELL

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  injunction against. any i1cti()n, suit, or tlthcr proceeding that nrny · c institute(!, prnsccutci.1, or
  attempted in breach of or contrary to this Agreement.
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  executed counterparts and each of them will be deemed ·to be on' and the .<1ame instrument.
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  IN WITNESS WHEREOJ;', each llf the undersigntid, being duly uthorized, l111vc caused this
  Agreement to be executed on the dates shown bcfow and agree that it shull take effect on that date
  upon whicl1 it has been t1xccut,�d by all. the undersigned.



          ____________ ·Date:August _, 2021
          SCOTT GILMORE


                  _________ Date:August _,2021
          SHERRY HANNA


                     ·------- Dat1.:: A11gust _, 202 l
          PAUL TAYLOR


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           ____________ Date: August_, 2021
          ·xJUSTY\¥1LLTAMS


          ____________ Date: August_, 2021
          AMANDA BOYETTE


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          JULIO EZCURRA


          ____________ Date: August_, 2021
          ANTHONY JEWELL

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Case 1:20-cv-01085-MN
        Case MDL No. 2741
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                                59-1 2437-1
                                      Filed 08/19/21
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                                                              of 4033PageID
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                                                                  Amended Settlement Agreement in Gilmore v. Monsanto


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          ____________                                               Date: August _,2021
          SCOTT GILMORE


          ____________                                               Date: August _,2021
          SHERRY HANNA


          _____________                                              Date: August _,2021
          PAUL TAYLOR


          ____________                                               Date: August _,2021
          JAMES WEEKS


          ____________                                               Date: August _,2021
          KRISTY WILLIAMS


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          JULIO EZCURRA


          ____________                                               Date: August _,2021
          ANTHONY JEWELL

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        Case MDL No. 2741
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                                      Filed 08/19/21
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                                                      Page 34Page
                                                              of 4034PageID
                                                                      of 40 #: 3477

                                         Amended Settlement Agreement in Gilmore v. Monsanto


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        _____________________________ Date: August __, 2021
        SCOTT GILMORE


        _____________________________ Date: August __, 2021
        SHERRY HANNA


        _____________________________ Date: August __, 2021
        PAUL TAYLOR


        _____________________________ Date: August __, 2021
        JAMES WEEKS


        _____________________________ Date: August __, 2021
        KRISTY WILLIAMS


        _____________________________ Date: August __, 2021
        AMANDA BOYETTE


        _____________________________ Date: August __, 2021
        JULIO EZCURRA


        _____________________________ Date: August __, 2021
        ANTHONY JEWELL

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        Case MDL No. 2741
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                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 35Page
                                                              of 4035PageID
                                                                      of 40 #: 3478

                                         Amended Settlement Agreement in Gilmore v. Monsanto


         12.    Agreement Constitutes a Complete Defense. To the extent permitted by law, this
 Agreement may be pleaded as a full and complete defense to, and may be used as the basis for an
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 upon which it has been executed by all the undersigned.



        _____________________________ Date: August __, 2021
        SCOTT GILMORE


        _____________________________ Date: August __, 2021
        SHERRY HANNA


        _____________________________ Date: August __, 2021
        PAUL TAYLOR


        _____________________________ Date: August __, 2021
        JAMES WEEKS


        _____________________________ Date: August __, 2021
        KRISTY WILLIAMS


        _____________________________ Date: August __, 2021
        AMANDA BOYETTE


        _____________________________ Date: August __, 2021
        JULIO EZCURRA


        _____________________________ Date: August 18, 2021
        ANTHONY JEWELL

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        Case MDL No. 2741
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                                                      Page 36Page
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                                                                      of 40 #: 3479

                                   Amended Settlement Agreement in Gilmore v. Monsanto




       THE MONSANTO COMPANY


       /s/___________________________

              John Rosenthal
       BY:__________________________

              Partner, Winston & Strawn on behalf of Monsanto Company
       TITLE:_______________________

       Date: August 19
                    __, 2021


       MILSTEIN, JACKSON, FAIRCHILD & WADE, LLP
       Gillian L. Wade


                                                   19 2021
       _____________________________ Date: August ___,
       GILLIAN L. WADE
       10990 Wilshire Boulevard, 8th Floor
       Los Angeles, CA 90024


       OSTER LAW FIRM
       LAW OFFICES OF HOWARD RUBINSTEIN
       Joel Oster


       _____________________________ Date: August ___, 2021
       JOEL OSTER
       22052 W. 66th St. #192
       Shawnee, Kansas 66226


       WINSTON & STRAWN LLP
       John J. Rosenthal:


       _____________________________ Date: August __, 2021
       JOHN J. ROSENTHAL
       1901 L. St. NW
       Washington, DC 20036


                                    Page 28 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
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                                             Filed 08/19/21
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                                                              of 4037PageID
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                                   Amended Settlement Agreement in Gilmore v. Monsanto




       THE MONSANTO COMPANY


       /s/___________________________

       BY:__________________________

       TITLE:_______________________

       Date: August __, 2021


       MILSTEIN, JACKSON, FAIRCHILD & WADE, LLP
       Gillian L. Wade


       _____________________________ Date: August ___, 2021
       GILLIAN L. WADE
       10990 Wilshire Boulevard, 8th Floor
       Los Angeles, CA 90024


       OSTER LAW FIRM
       LAW OFFICES OF HOWARD RUBINSTEIN
       Joel Oster


                                                  19 2021
       _____________________________ Date: August ___,
       JOEL OSTER
       22052 W. 66th St. #192
       Shawnee, Kansas 66226


       WINSTON & STRAWN LLP
       John J. Rosenthal:


       _____________________________ Date: August __, 2021
       JOHN J. ROSENTHAL
       1901 L. St. NW
       Washington, DC 20036


                                    Page 28 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
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                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 38Page
                                                              of 4038PageID
                                                                      of 40 #: 3481

                                      Amended Settlement Agreement in Gilmore v. Monsanto



                                            EXHIBIT A

       Products

       Roundup® Ready-to-Use Weed & Grass Killer (all sizes, applicators, and varieties)
       Roundup® Ready-to-Use Weed & Grass Killer Plus (all sizes, applicators, and varieties)
       Roundup® Weed & Grass Killer Concentrate Plus (all sizes and varieties)
       Roundup® Weed & Grass Killer Super Concentrate (all sizes and varieties)
       Roundup® Ready-to-Use Poison Ivy Plus Tough Brush Killer (all sizes and varieties)
       Roundup® Ready-to-Use Wild Blackberry Plus Vine and Brush Killer (all sizes and
       varieties)
       Roundup® Concentrate Poison Ivy Plus Tough Brush Killer (all sizes and varieties)
       Roundup® Concentrate Wild Blackberry Plus Vine and Brush Killer (all sizes and
       varieties)
       Roundup® Ready-to-Use Extended Control Weed & Grass Killer Plus Weed Preventer
       (all sizes and varieties)
       Roundup® Concentrate Extended Control Weed & Grass Killer Plus Weed Preventer (all
       sizes and varieties)
       Roundup® Ready-to-Use Max Control 365 (all sizes and varieties)
       Roundup® Concentrate Max Control 365 (all sizes and varieties)
       Roundup® Weed & Grass Killer Sure Shot Foam (all sizes and varieties)
       Roundup® Precision Gel Weed & Grass Killer (all sizes and varieties)
       Roundup® Pro Concentrate (2.5 gal.)
       HDX® Weed & Grass Killer Ready-to-Use (all sizes and varieties)
       HDX® Weed & Grass Killer Concentrate (all sizes and varieties)
       Ace® Ready-to-Use Weed & Grass Killer (all sizes and varieties)
       Ace® Weed & Grass Killer Concentrate (all sizes and varieties)




                                        Page 29 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 39Page
                                                              of 4039PageID
                                                                      of 40 #: 3482

                                       Amended Settlement Agreement in Gilmore v. Monsanto


                                               EXHIBIT B

       Class Period for Each State/Territory

                         State or Territory       Beginning of Class
                                                        Period
                        Alabama                 February 2017
                        Alaska                  February 2017
                        American Samoa          February 2018
                        Arizona                 February 2017
                        Arkansas                February 2016
                        California              August 2015
                        Colorado                February 2018
                        Connecticut             February 2016
                        Delaware                February 2017
                        District of             February 2017
                        Columbia
                        Florida                 February 2016
                        Georgia                 October 2016
                        Guam                    August 2016
                        Hawaii                  February 2017
                        Idaho                   February 2017
                        Illinois                February 2017
                        Indiana                 February 2017
                        Iowa                    February 2017
                        Kansas                  December 2015
                        Kentucky                February 2017
                        Louisiana               February 2017
                        Maine                   February 2015
                        Maryland                August 2016
                        Massachusetts           October 2016
                        Michigan                October 2014
                        Minnesota               December 2013
                        Mississippi             February 2015
                        Missouri                August 2014
                        Montana                 February 2017
                        Nebraska                February 2017
                        Nevada                  October 2016
                        New Hampshire           February 2017
                        New Jersey              November 2014
                        New Mexico              February 2017
                        New York                June 2011
                        North Carolina          February 2017
                        North Dakota            February 2015


                                         Page 30 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
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                           Document
                                59-1 2437-1
                                      Filed 08/19/21
                                             Filed 08/19/21
                                                      Page 40Page
                                                              of 4040PageID
                                                                      of 40 #: 3483

                                  Amended Settlement Agreement in Gilmore v. Monsanto


                     Northern Mariana   February 2015
                     Islands
                     Ohio               February 2017
                     Oklahoma           November 2015
                     Oregon             November 2015
                     Pennsylvania       February 2015
                     Puerto Rico        December 2019
                     Rhode Island       February 2017
                     South Carolina     February 2015
                     South Dakota       February 2017
                     Tennessee          February 2017
                     Texas              March 2016
                     Utah               February 2016
                     Vermont            November 2013
                     Virgin Islands     February 2015
                     Virginia           September 2016
                     Washington         February 2017
                     West Virginia      February 2017
                     Wisconsin          February 2015
                     Wyoming            February 2017




                                   Page 31 of 31
